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     Christopher Rasku                                                                                        City of Ukiah, Kevin Murray, and DOES 1-25, inclusive
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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                               $WWRUQH\V(If Known)
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    Izaak D. Schwaiger, SBN 267888; 130 Petaluma Avenue, Suite
    1A, Sebastopol, CA 95472; (707) 595-4414
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